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  ..... Cftlt IIMJIIJ        •.ax (711) IIHIIl



                                                             HIGHWAY VIOLATION SBARCH



      DATE:               04I01I2005
      -CLIBNT:            FI-256 300834l16NYliC
      PREMISBS: 699 I 103 5                            AVBNUB
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      BLOCK:              1290        LOT: 69
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      COON'l"Y:           MANHATTAN


                                 .                                .
              KINDLY CONDUCT A SBARC.H, IN YOUR DBPAR'I'MBNT, FOR VIOLATIONS
              AGAINST 'l'HE ABOVB PRBMISBS.




      SIDBWALK VIOLATIONS:




                                                                                      YOURS TRULY
                                                                                      MUNICIPAL DATA SBRVICBS ·zNC.

                                                                                      BY:    011>5" ·.
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           Municipal Data Services Inc. cert.if.ies that the reeords of the abov~
      mun.icirml agency ~ere examined on behalf of FIRST AMBRICAN TI2"LB INSURANCE
      co, . The i .n fozmation reported abov.e is a trUe and accurate abstract of the                                 .    ·,: •

      information on file therein. This r.eport is sulmiitted .for imormation
      pw:poses only. No ·liablli·t y :is assumed.                                                                     .. -

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                     rrATBM ISLAND, NT 10301
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                                   .l   HOUSING AND BUILDING DEPARTMENT SEARCH                 J

     PREMISES:          699    I 703 5 AVENUE
              AKA: 2       I   12 BAST 55 STRBB'l' .                                               MANHATTAN


     A Mardi of the ..cords of 1M Department of BuUclnga, and 1M Rent and Howlng llalnteMnce Department
    .of thecltyof N.wYo.- was made on              °
                                             4 1° 7 12005 • 'ThefollowlngW»Ia1lonaw.,.report.c~.pendlng:


     BUD..DING DEPARTMENT:
          ( 8) VIOLATIONS ATTACHED
          U1) VIOLATIONS - NO COPIES AVAILABLE (SEB ATTACHED LE'1"1'BR)

     RENT AND HOUSING MAINTENANCE DEPARTMENT:
                   yzOLATIONS ATTACHED                         .

     BUILDING CIASSIFICA110N:
      : HBRBTOPORB BXISTING CLASS                   ns•   MrJLTIPLB DWELLING

     [!] Multiple Dwelling                     434 Rooms

     0 Not a MUltiple Dwelling
•A2:'7'ACHED FIND SAMPLB COPY OP ELEVATC.?R TEST VIOLATION.




                                                                                     2501732         7441635
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           DEPARTMENT OF BUILDINGS
           ELEVATOR DIVISION                            •



           SECTIONS c-2•1102.2 MD C.21-1802A OF THE NYC ADIIIfiSTIAtlVE CODE...,
           A.S. 1• RULE 1001.AIID HAVIIEER VIOLATID.                             .

           1141 DEPARTIIBn' OF 8UILDINCS INDI31
           CONDITIOft REPORii!ir. A REVIEW OF THE RECORDS OF 11E B.EVATOR DIVISION OF
           PERFORIPiD FOR 1HE PIIBIISES AT
           C1J TH1 o.- C1J REQUIRED PERIODIC
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           RESULT REPORT IIVST IE FILED WITH TIIS DEPT. ill CO. .ORMI'NCE WITH OUR
           REGULATIONS.
           ROTE: AU INOUSRIES AND REFERENCE TO TtaS VIOLATIOSI SHOULD BE DliCEe liD
           TO                             ELEVATOR VioLAnOll DIVISION CMS-781SJ.

           10101/81 VIOLATION 110.. BT _ _ _ _ _ ISSUED TO OWIIER. AUTHORIZED ACBUT
           IIELOW.     .



           BOROUGH OF SUPERINTEIIDENT             T
           COIIIIISSIONEit DIPT. OF BUILDINGS           1)

           IIOTICE OF VIOLATION


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~BUILDIIIGS
                                                      NYC Department of Bullclnp
                                                        ECB VIolation DetaUa
 Prwn~: 2 ~T 55 STREET MANHATTAN                                                                      BIN: 1035762     Block: 1210 l.Dt 61
 Filed At: 2 EAST 55 STREEt , IIAN , NY 10022
 ECB VIol Number: 31120&40L                                         VIOL ACTIVE                               St.tus: NO COMPL RECORD
 Rispondwd Info:                 .                                    .                              ca:        1os
    ST. REGIS SHERATEN HOTEL. 2 EAST 55 SlREET. NY , NY 10022                                        GEOFiag:          1
   Viol laue Dabt:     0110212002                  Delivered Datil:                   0110212002
. VIol Type: .         EL - ELEVATOR               D08 VIol NLnber:                   o10202c1718C03
   Issuing lrwp ID: .  1719                        Tax Uen Sent:                      NO
  .Deotlce Type: .     a.EVATOR                    Device Nlllnber.                   .1.fZg
   SCheel Hrg o.te:    0212112.00Z                 Hearing Time:                      10".30    Locallon:              MAN
   Amount 1m~:         $350.00                     Amount PBS:                        $350.00
   Heartng Status:     S - STlPULATED              Compl Status:                      N- NO COMPL RECORD
   Compl&y o.ite:      07/2fJ/2002                 Complllet Flag:
   COmpiMe~ Date:                                  Viol Severity:                     8-MOOERATE
 Infraction Codes:
  BP7 21-987 FAILURE TO MAINTAIN ELEVATOR

  DesGI'tption of Violation:
  48H10130P17/ -4M7/.·1BQ3153X11/30t<EY 4 KEYS 53 SECONDARY LEVEL

  Historical Event Dates:
    .CUR:                   HRG:                     COM:                     DEF:                    SllP ACC:
      AJR:                  ASG:                     WRI:                            Relnapection Compt~

    ...   .   . .
 . If you have any questions please review these Frequently Asked l!ll!e$tioos, the G!opa.Y, or can ..,e 311 Citizen Service Center by
      ·    .
                                                                                ___ ______ _____ ____
                                     dialing 311 or (212) NEW YORK outs1de of New. York City.
                                                                                ,            .          .                  .:._    ,

                                     ~..M.~ I Prooerty Pmfite I ECB VIOlations I ECB VIOl Details I Ba .            .
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     ~BUILDINGS                                                                                                                                                            .·
                                                                         NYC O.,.rtment fllf Bullclngl
                                                                               ECB Vlo~aatlon Detalla
      PNm.._: Z EAST 55 STREET MANKAnAN                                                                                  aN: t0H712 Block: 1210 Lot a
      Rled AI: 2 EAST 55 S11lEET , MAN , ff\' 10022
      ECB VIol Number: 31120M1M                                                          'VIOLAC11VE                            Staleua: NO COMPL RECORD
      RMpondent Info:                                                                                                    CB:   105
     .'ST. REGIS ~TEN HOTEL. 2 EAST 55 STREET, NY, NY 10022                                                              GEOFiq:   1
      VIol laue    o.ea:
                      0110212002                 o.uwr.d DOl:                                               0110212002
     · VIol Ty.,.:                EJ.- ELEVATOR                                   DOB VIol Nwnber:          010202E1719C04
      ·lsaulngiMpiD:                                                              Tax Lien 8erY:             NO
       Dwtce1,'ype:               ELEVATOR                                        Dftk:e Number:             l~
      ·8c:hed H"i 0..:            0212112002                                      ....,...,_:                10'.30      Location:    MAN
      Amowd lmpoMCI;              $350.00 .                                       Amount PUt                 $350.00
      HearingS~:                  S- STIPULATED                                   Campi Statui:              N- NO COMPL RECORD
      Compl By D*te:              07fi.0/2.002.                                   Compl Milt Fl8g:
      Compl Met Dam:                                                              VioiSe~rttr:               B-MOOERA11:
      lnfndlm -cOctes:
       BP7 27-987 FAILURE TO MAINTAIN ElEVATOR
        .                  .
       Deacrlpllan of Violation:
      . 18C3130P1714U71 S702J 30 KEY 4 KEYS 57 GATE
      triSIOric:al Event Oates:
          CUR:                       HRG:                               COM:                         DEF:                S11P ACC:
            AJR:                     ASG:                                WRJ:                               Reinspedlon Compliance:



      If you have any queStions Please review these frequently Asked Questions. the G!ossarJ. or can the 311 Citizen Service Center by
                                      . did~ 311 or (212) NEW YORK outside of New Yort< City.                                                                                   •
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  TITLE#

  BLOCK:
  ADDRESS:




                     ELEVATOR VIOLATIONS
  WE BAVE BEEN INFORMED BY DEPARTMENT OF BUILDINGS PERSONNEL
  THAT THERE IS A DELAY IN GEniNG COPIES OF THE FOLLOWING
  ELEVATOR VIOLATIONS. AT YOUR REQUEST WE wn..L ORDER A COPY OF THE
  VIOLATION.                                          .



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                                                            Building Regl.ntlon Summary Report

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                 Contact


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                 For definitions, dick on the GIOSAry link •t the upper rtght.
                 To liiOrt the columns, dick on their undertlned tte.dera below
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             VICES.       INC.
      Y..,..... n•'I'INJ&Uat, NY 11111
. . . - (JU) IIMJII7 I'd cmtiiMla




                     0410812005
                     FI-256 300834116NYliC
                     Block: 1290         Lot(s): 69
                 699 I 103 s AVENDB
            AKA: 2 I 12 EAST 55 STRBBT
                      .       .
                     MANHATTAN

                     STREET REPORT

                A search of the Topographical Department shows the
                following results:              ·
                        Street widtb:       5 AVENt1E HAPPiiD AT 55 I OPEN 04liBi8       ro
                                            THB FOLL WIDTH.
                        Cross streets: BAST 55 STRBBT MAPPED AT 34        1
                                                                             OPBN
                                            09/1839 TO THB FVLL HIDTH.             .
                                            BAS.T 54 S'TRBBT MAPPED AT 30 1 OPEN .·
                                            08108/1838 TO THB FULL WIDTH. . . .
                                            MADISON A VBNt1B MAPPBD AT 54 1 OPBN
                                            11/_~4/1863 TO THE FULL ffiDTH..   . .


                Yours Truly,
                MUNICIPAL DATA SBRVICBS IliC.




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       Municipal Data Services Inc. certifies th~t the records of the ~ve
municipal agency 'fere examined .on bebalf of FI~'I' AMERICAN . 'I'ITLB INSURANCB
co,. · 'rbe .i.cformat~on reported ·above is a true and accuraee abstract of the
information on :file tberei.c. This report is submitted for information
purposes only. No liab.ili ty is assumed.            ·            ·
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                                     ·- ·:·                633 1'IUnl Avenue     .......... -
                                                      New YorA:, New York 1.0017
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                                                                                                           ,,._: (21Z) 912-9700   ..
                                                                                                             Fa:{%1Z) 922-0311

    'T11U NUMBER: 34176NY1               SUBMinED BY: Hilary Kruce                              Stephen R F~rber
    APPUCAliON DATE:                     REPORT DATE:                                           TYPED BY: Oarlstina Corbett
    05/19/2004
    AMENDED DATE: 07/06/2005             RE-ISSUE 1111.£ NO.:

    APPUCANT:                                    BANK ATTORNEY:                                 SELLER'S ATTORNEY:
    Seth Ruzl
    Starwoocl Hotels & Resorts
    1111 Wesb:J.estel Avenue
    White Plains, NY 10604
    Phone #(914) 640-8100
    Fax #(914) &f()-8310

    ADDMONAL COPIES:
  Jay A. NeYeloff, Esq.
  Kramer Levin Naftallls &. Frankel UP
· 919 Third Avenue
    New York, New York 10022
    212-715-9100
                                                                                                                                  ·. -
    212-715-8000

    TRANSAcnON TYPE:                     Sale W/Mortgage
    AMOUNT OF INSURANCE:                 FEE:$ 0.00    .                MTGE:$

    INSURED MORTGAGEE:            Will Advise
    INSURED FEE:  .
    RECORD OWNER:                SlT PALM DESERT, LLC

    PREMISES:         Sttl Avenue at 55th Street, CONDOMINIUM TO BE FORMED,
                      New York, New York



    DISTRICT           SEClYON                BLOOC             LOlS               COUNTY OF:             . TOWN:
                       s                      1290              lOBE               NewYor1c .
                                                                APPORTIONED
                                                                (BASE LOT 69)



    FILED MAP:
    APPDESC:
    UNIT#: .
    SURVEY INSTRU.cnONS:
      IF THIS IS A REFINANCE WITHIN TEN YEARs;. YOl! MAY BE ENTITLED TO A REDUCED                                                            ·-
               PREMIUM. CONTACT THIS COMPANY IMMEDIATELY FOR DETAILS.                                                             ..     '

                                                      Order Confirmation
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     -SEE ArrACHED PREUMINARY INVOICE FOR usr OF CHARGES AND MUNIQPAL SEARCHES ORDERED-                                            • I




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                                                                       DATE: 04/08/2005

                    COMPANY: FI-256
                    TITLE #: 300834176NYl/C
                    BLOCK:   1290     LOT: 69
                    COUNTY: MANHATI'AN

                                           VAULT TAX SEARCH


                   As per your request, we have conducted a searcb with regard · to
              annual vault taxes £or the above captioned block and lot and found as
              follows:


              [X) T.he Department: of Finance records indicate no record of vault
              charges as of 04/08/2005.


              Please note: 72Jere may be existing vaults at: the above mentioned Block
              and Lot: that: have not: yet been inspected by the Department of Finance.
              'I'bis . searcb does not ~over any Block and Lots m~rged · wit:b the above. ·
              Note: MUNICIPAL DATA ·SBRVICBS INC. makes no representation as to t:be             •
              accuracy o£ this in£ozmation. Sole responsibility is assumed by tbe
              user.




         MuniciPal Data Services Inc. certifies that the records of the above
    municipal agency were examined on behalf o ·f FIRST AMBR.ICAN TinB INSURANCE
    co~. The information reported above is a true and accurate abstract of the
    infor.mat:ion on file therein. This re~rt is submitted for infor.mation
    pur.poses
         .     only. No liability is assumed..
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         PROTECTING YOUR FAMILY FROM LEAD IN YOUR HOME
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          Are You Planning To Buy, Rent, or Renovate
          a Home Built Before 1978?

                   any houses and apartments built before 1978 have

          M        paint that contains high levels of lead (called lead-
                  based paint). Lead from paint, chips, and dust can
          pose serious health hazards If not taken care of properly.

                            OWNERS, BUYERS, and RENTERS are
                            encouraged to check for lead (see page 6)
                            before renting, buying or renovating pre-
                            1978 housing.


              ederal law requires that individuals receive certain

          F   information before renting, buying, or renovating
              pre- 1978 housing:

             FOR .,         LANDLORDS have to disclose known infor-
                            mation on lead-based paint and lead-based
            _RENl ,         paint hazards before leases take effect.
                            Leases must include a disclosure about
                            lead-based paint.


                           SELLERS have to disclose known informa-
                           tion on lead-based paint and lead-based
                           paint hazards before selling a house. Sales
                           contracts must include a disclosure about
                           lead-based paint. Buyers have up to I 0
                           days to check for lead.


                           RENOVATORS disturbing more than 2 square
                           feet of painted surfaces have to give you
                           this pamphlet before starting work.




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                     IMPORTANT!

              Lead From Paint, Dust, and
             Soil Can Be Dangerous If Not
                   Managed Properly
             FACT: lead exposure can harm young
                   children and babies even before they
                   are born.
             FACT: Even children who seem healthy can
                   have high levels of lead in their bodies.
             FACT: People can get lead in their bodies by
                   breathing or swallowing lead dust, or by
                   eating soil or paint chips containing
                   lead.
            FACT: People have many options for reducing
                  lead hazards. In most cases, lead-based
                  paint that is in good condition is not a
                  hazard.
            FACT: Removing lead-based paint improperly
                  can increase the danger to your family.


               If you think your home might have lead
              hazards, read this pamphlet to learn some
                  simple steps to protect your family.
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          Lead Gets in the Body in Many Ways                                         •

                             People can get lead in their body if they:
          Childhood
          lead
                             +   Breathe in lead dust (especially during
                                 renovations that disturb painted
          poisoning              surfaces).
          remains a          •   Put their hands or other objects
          major                  covered with lead dust in their mouths.
          environmen-        +   Eat paint chips or soil that contains
          tal health             lead.
          problem in
          the U.S.           Lead is even more dangerous to children
                             under the age of 6:
                             + At this age children's brains and nervous
                                 systems are more sensitive to the dam-
                                 aging effects of lead.
          Even children      + Children's growing bodies absorb more
          who appear           lead.
          healthy can
          have danger-
                             + Babies and young children often put
                                 their hands and other objects in their
          ous levels of          mouths. These objects can have lead
          lead in their          dust on them.
          bodies.




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       Lead's Effects
       It is important to know that even exposure
       to low levels of lead cao severely harm
       children.
       In children, lead can cause:
       +   Nervous system and kidney damage.
       + Learning disabilities. attention deficit              Brain or Nerve Damage

           disorder, and decreased intelligence.
       + Speech, language. and behavior
           problems.
       + Poor muscle coordination.
       + Decreased muscle and bone growth.
       + Hearing damage.
       While low-lead exposure is most
       common. exposure to high levels of
       lead can have devastating effects on
       children, including seizures, uncon-
       sciousness, and, in some cases, death.
      Although children are especially
      susceptible to lead exposure. lead
      can be dangerous for adults too.
      In adults, lead can cause:
      + Increased chance of illness during          Reproductive
                                                    Problems
           pregnancy.                               (Adults)
      + Harm to a fetus, including brain
           damage or death.                                  Lead affects
      + Fertility problems (in men and women).               the body in
      + High blood pressure.                                 many ways.
      +    Digestive problems.
      +    Nerve disorders.
      + Memory and concentration problems.
      + Muscle and joint pain.

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                Where Lead·Based Paint Is found

                                 Many homes built before 1978 have lead·
                In general,      based paint. The federal government
                the older your   banned lead-based paint from housing in
                home, the        1978. Some states stopped its use even
                more likely it   earlier. Lead can be found:
                has lead-        + In homes in the city, country, or suburbs.
                based paint.     + In apartments, single-family homes, and
                                   both private and public housing.
                                 + Inside and outside of the house.
                                 + In soil around a home. (Soil can pick up                  ..
                                     lead from exterior paint or other sources
                                     such as past use of leaded gas in cars.)

                Checking Your Family for Lead
                                 To reduce your child's exposure to lead,
                Get your         get your child checked, have your home
                children and     tested (especially if your home has paint
                home tested      in poor condition and was built before
                                 1978), and f"lx any hazards you may have.
                if you think
                                 Children's blood lead levels tend to increase
                your home        rapidly from 6 to 12 months of age, and
                has high lev-    tend to peak at 18 to 24 months of age.
                els of lead.     Consult your doctor for advice on testing
                                 your children. A simple blood test can
                                 detect high levels of lead. Blood tests are
                                 usually recommended for:

                                 +   Children at ages 1 and 2.
                                 +   Children or other family members who
                                     have been exposed to high levels of lead.
                                 +   Children who should be tested under
                                     your state or local health screening plan.
                                 Your doctor can explain what the test results
                                 mean and if more testing will be needed.
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       Identifying Lead Hazards

       Lead-based paint is usually not a hazard if
       it is in good condition, and it is not on an       Lead from
       impact or friction surface, like a window. It      paint chips,
       is defined by the federal government as            which you
       paint with lead levels greater than or equal
       to 1.0 milligram per square centimeter, or         can see, and
       more than 0.5% by weight.                          lead dust,
       Deteriorating lead-based paint (peeling,           which you
       chipping, chalking, cracking or damaged)           can't always
       is a hazard and needs immediate attention.         see, can both
       It may also be a hazard when found on sur-         be serious
       faces that children can chew or that get a         hazards.
       lot of wear-and-tear, such as:
       + Windows and window sills.
       + Doors and door frames.
       + Stairs, railings, banisters, and porches.
       Lead dust can form when lead-based paint is scraped, sanded, or
       heated. Dust also forms when painted surfaces bump or rub togeth-
       er. Lead chips and dust can get on surfaces and objects that people
       touch. Settled lead dust can re-enter the air when people vacuum,
       sweep, or walk through it. The following two federal standards have
       been set for lead hazards in dust:
       + 40 micrograms per square foot (JlglftZ) and higher for floors,
           including carpeted floors.
       + 250 J,1glft2 and higher for interior window sills.
       Lead in soil can be a hazard when children play in bare soil or
       when people bring soil into the house on their shoes. The following
       two federal standards have been set for lead hazards in residential
       soil:
       +   400 parts per million (ppm) and higher in play areas of bare soil.
       +    I ,200 ppm (average) and higher in bare soil in the remainder of
           the yard.
      The only way to find out if paint, dust and soil lead hazards exist is
      to test for them. The next page describes the most common meth-
      ods used.
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           Checking Your Home for Lead
                                                                                      -~

                             You can get your home tested for lead in
           Just knowing      several different ways:
           that a home       + A paint Inspection tells you whether your
           has lead-           home has lead-based paint and where it
           based paint         is located. It won't tell you whether or not
           may not tell        your home currently has lead hazards.
           you if there     + A risk assessment tells you if your home
           is a hazard.        currently has any lead hazards from lead
                               in paint. dust, or soil. It also tells you what
                               actions to take to address any hazards.
                            + A combination risk assessment and
                               inspection tells you if your home has
                               any lead hazards and if your home has
                               any lead-based paint, and where the
                               lead-based paint is located.
                            Hire a trained and certified testing profes-
                            sional who will use a range of reliable
                            methods when testing your home.
                            + Visual inspection of paint condition
                               and location.
                            +A portable x-ray fluorescence (XRF)
                             machine.
                            +Lab tests of paint, dust, and soil
                              samples.
                            There are state and federal programs in
                            place to ensure that testing is done safely,
                            reliably, and effectively. Contact your state
                            or local agency (see bottom of page I I) for
                            more information. or call i -800-424-LEAD
                            (5323) for a list of contacts in your area.
                            Home test kits for lead are available, but
                            may not always be accurate. Consumers
                            should not rely on these kits before doing                ...•.
                            renovations or to assure safety.

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       What You Can Do Now To Protect
       Your Family

       If you suspect that your house has lead
       hazards, you can take some immediate
       steps to reduce your family's risk:
       + If you rent, notify your landlord of
         peeling or chipping paint.
       + Clean up paint chips immediately.
       + Clean floors, window frames, window
         sills, and other surfaces weekly. Use a
         mop or sponge with warm water and a
         general all-purpose cleaner or a cleaner
         made specifically for lead. REMEMBER:
         NEVER MIX AMMONIA AND BLEACH
         PRODUCTS TOGETHER SINCE THEY
         CAN FORM A DANGEROUS GAS.
      + Thoroughly rinse sponges and mop
        heads after cleaning dirty or dusty
        areas.
      +Wash children's hands often, especial-
       ly before they eat and before nap time
       and bed time.
      +Keep play areas clean. Wash bottles.
         pacifiers, toys, and stuffed animals
         regularly.
      + Keep children from chewing window
         sills or other painted surfaces.
      + Clean or remove shoes before
        entering your home to avoid
        tracking in lead from soil.
      + Make sure children eat
         nutritious, low-fat meals high
         in iron and calcium, such as
        spinach and dairy products.
        Children with good diets absorb
        less lead.


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              Reducing Lead Hazards In The Home

                             In addition to day-to-day cleaning and good
          Removing           nutrition:
          lead               + You can temporarily reduce lead hazards
          improperly            by taking actions such as repairing dam-
          can increase          aged painted surfaces and planting grass
          the hazard to         to cover soil with high lead levels. These
                                actions (called "interim controls") are not
          your family           permanent solutions and will need ongo-
          by spreading          ing attention.
          even more         + To permanently remove lead hazards,
          lead dust            you should hire a certified lead "abate-
          around the           ment" contractor. Abatement (or perma-
          house.               nent hazard elimination) methods
                               include removing, sealing, or enclosing
         Always use a          lead-based paint with special materials.
         professional who      Just painting over the hazard with regular
         is trained to         paint is not permanent removal.
         remove lead
                            AJways hire a person with special training
         hazards safely.
                            for correcting lead problems-someone
                            who knows how to do this work safely and
                            has the proper equipment to clean up
                            thoroughly. Certified contractors will employ
                            qualified workers and follow strict safety                  •
                            rules as set by their state or by the federal
                            government.
                            Once the work is completed, dust cleanup
                            activities must be repeated until testing
                            indicates that lead dust levels are below the
                            following:
                            + 40 micrograms per square foot (Jlglft2)
                              for floors, including carpeted floors;
                            + 250 JlglftZ for interior windows sills: and
                            + 400 JlglftZ for window troughs.                           ....

                            Call your state or local agency (see bottom
                                                                                        :-          ..'
                            of page 1 1) for help in locating certified
                            professionals in your area and to see if
              8             financial assistance is available.
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       Remodeling or Renovating a Home With
       Lead-Based Paint

       Take precautions before your contractor or
       you begin remodeling or renovating any~
       thing that disturbs painted surfaces (such
       as scraping off paint or tearing out walls):
       + Have the area tested for lead-based
          paint.
       +Do not use a belt-sander, propane
        torch, high temperature heat gun, dry
        scraper, or dry sandpaper to remove
        lead-based paint. These actions create
        large amounts of lead dust and fumes.
        Lead dust can remain in your home             If not
        long after the work is done.
                                                      conducted
       +Temporarily move your family (espe~           properly,
         cially children and pregnant women)
                                                      certain types
         out of the apartment or house until
         the work is done and the area is prop~       of renova-
         erly cleaned. If you can't move your         tions can
         family, at least completely seal off the     release lead
         work area.                                   from paint
       + follow other safety measures to              and dust into
          reduce lead hazards. You can find out       the air.
          about other safety measures by calling
          1-800~424~LEAD. Ask for the brochure
          "Reducing Lead Hazards When
          Remodeling Your Home ... This brochure
          explains what to do before, during.
          and after renovations.
      If you have already completed renova-
      tions or remodeling that could have
      released lead-based paint or dust, get
      your young children tested and follow
      the steps outlined on page 7 of this
      brochure.



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       Other Sources of Lead


                                  + Drinking water. Your home might have
                                         plumbing with lead or lead solder. Call
                                         your local health department or water
                                         supplier to find out about testing your
                                         water. You cannot see, smell, or taste
                                         lead, and boiling your water will not get
                                         rid of lead. If you think your plumbing
                                         might have lead in it:
                                           •   Use only cold water for drinking and                  -'
       While paint, dust,                      cooking.
       and soil are the
                                           •   Run water for 15 to 30 seconds
       most common
       sources of lead,                        before drinking it, especially if you
       other lead                              have not used your water for a few
       sources also exist.                     hours.
                              + The job. If you work with lead, you
                                         could bring it home on your hands or
                                         clothes. Shower and change clothes
                                         before coming home. launder your work
                                         clothes separately from the rest of your
                                         family's clothes.
                              + Old painted toys and furniture.
                              + food and liquids stored in lead crystal
                                         or lead·glazed pottery or porcelain.
                              + Lead smelters or other industries that
                                         release lead into the air.
                              + Hobbies that use lead, such as making
                                         pottery or stained glass, or refinishing
                                         furniture.
                              + l'olk remedies that contain lead, such as
                                         "greta" and "azarcon" used to treat an
                                         upset stomach.




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       For More Information


       The National Lead Information Center
         Call 1·800-424·LEAD (424·5323) to learn
         how to protect children from lead poisoning
         and for other information on lead hazards.
         To access lead information via the web, visit
         www.epa.gov/lead and
         www.hud.gov/offices/lead/.
      EPA's Safe Drinking Water Hotline
         Call 1·800·426·4791 for information about
         lead in drinking water.
      Consumer Product Safety
      Commission (CPSC) Hotline
         To request information on lead in
         consumer products, or to report an
                                                   -
         unsafe consumer product or a prod-
         uct-related injury call l ·800·638·
         2772, or visit CPSC's Web site at:
        www.cpsc.gov.
      Health and Environmental Agencies
        Some cities, states, and tribes have
        their own rules for lead-based paint
        activities. Check with your local agency to
        see which laws apply to you. Most agencies
        can also provide information on finding a
        lead abatement firm in your area, and on
        possible sources of financial aid for reducing
        lead hazards. Receive up-to-date address
        and phone information for your local con-
        tacts on the Internet at www.epa.gov/lead
        or contact the National Lead Information
        Center at l·800·424·LEAD.

           for the hearing impaired, call the Federal Information
           Relay Service at l-800-877 -8339 to access any of
                   the phone numbers in this brochure.


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            EPA Regional Offices

            Your Regional EPA Office can provide further information regard-
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            ing regulations and lead protection programs.


            ErA Regional Offices
            Region I (Connecticut, Massachusetts,         Region 6 (Arkansas. Louisiana, New
            Maine. New Hampshire. Rhode Island,           Mexico, Oklahoma, Texas)
            Vermont)                                         Regional Lead Contact
               Regional Lead Contact                         US. EPA Region 6
               U.S. EPA Region I                             I 445 Ross Avenue, 12th Floor
               Suite I I 00 (CPT)                            Dallas, TX 75202-2733
               One Congress Street                           (214) 665-7577
               Boston, MA 021 14-2023
               I (888) 3 72-734 I

                                                          Region 1 (Iowa. Kansas, Missouri.
           Region 2 (New Jersey, New York,                Nebraska)
           Puerto Rico. Virgin Islands)
                                                             Regional Lead Contact
              Regional Lead Contact                          U.S. EPA Region 7
              U.S. EPA Region 2                              (ARTD-RALI)
              2890 Woodbridge Avenue                         90 I N. 5th Street
              Building 209, Mail Stop 225                    Kansas City, KS 661 0 I
              Edison, NJ 08837-3679                          (913) 551-7020
              (732) 321-66 71
                                                      Region 8 (Colorado, Montana, North
           Region 3 (Delaware. Maryland,              Dakota, South Dakota, Utah, VVyoming)
           Pennsylvania, Virginia, Washington DC,
           West Virginia)                                Regional Lead Contact
                                                         U.S. EPA Region 8
              Regional Lead Contact                      999 18th Street, Suite 500
              U.S. f.PA Region 3 (3WC33)                 Denver, CO 80202-2466
              I 650 Arch Street                          (303) 312-6021
              Philadelphia, PA 19103
              (215) 814-5000

           Region 4 (Alabama, Florida, Georgia,       Region 9 (Arizona, California. Hawaii,
           Kentucky, Mississippi, North Carolina,     Nevada)
           South Carolina, Tennessee)                    Regional Lead Contact
              Regional Lead Contact                      U.S. Region 9
              U.S. EPA Region 4                          75 Hawthorne Street
              61 Forsyth Street, SW                      San Francisco, CA 941 05
              Atlanta, GA 30303                          (415) 947-4164
              (404) 562-8998
                                                      Region I 0 (Alaska, Idaho, Oregon.
           Region 5 (Illinois, Indiana, Michigan,
                                                      Washington)
           Minnesota, Ohio, Wisconsin)
                                                         Regional Lead Contact
                Regional Lead Contact
                                                         US. EPA Region I 0
                U.S. E.PA Region 5 (DT-BJ)
                                                         Toxics Section WCM- I 28
                77 West Jackson Boulevard
                                                         I 200 Sixth Avenue
                Chicago, IL 60604-3666
                                                         Seattle, WA 98101-1 128
                (3 I 2) 886-6003
                                                         (206) 553- I 985



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       CPSC Regional Offices
       Your Regional CPSC Office can provide further information regard-
       ing regulations and consumer product safety.


       Eastern Regional Center                    Western Regional Center
       Consumer Product Safety Commission         Consumer Product Safety Commission
       20 I Varick Street. Room 903                130 I Clay Street. Suite 61 0-N
       New York. NY I 00 14                       Oal<land , CA 94612
       (2 12) 620-41 20                           (51 0) 6 3 7-4050


       Central Regional Center
       Consumer Product Safety Commission
       230 South Dearborn Street, Room 2944
       Chicago, IL 60604
       (31 2) 353 -8260




       HUD Lead Office

      Please contact HUD's Office of Healthy Homes and Lead Hazard
      Control for information on lead regulations, outreach efforts, and
      lead hazard control and research grant programs.

      U.S. Department of Housing and Urban Development
      Office of Healthy Homes and l ead Hazard Control
      451 Seventh Street, SW, P-3206
      Washington, DC 20410
      (202) 755- I 785




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      organization without permission. Information provided in this bool<let is based
      upon current scientific and technical understanding of the issues presented and
      Is reflective of the jurisdictional boundaries established by the statutes governing
      the co-authoring agencie.s. Following the advice given will not necessarily pro-
      vide complete protection in all situations or against all health hazards that can
      be caused by lead exposure.


      U.S. EPA Washington DC 20460                      EPA747-K-99-001
      U.S. CPSC Washington DC 20207                     June 2003
      U.S. HUD Washington DC 20410
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                      If you think your home has high
                                levels of lead:
               +Get your young children tested for lead, even if
                they seem healthy.
               +Wash children's hands, bottles, pacifiers, and toys
                often.
               +Make sure children eat healthy, low-fat foods.
               + Get your home checked for lead hazards.
               + Regularly clean floors, window sills, and other
                 surfaces.
               +Wipe soil off shoes before entering house.
              + Talk to your landlord about fixing surfaces with
                 peeling or chipping paint.
              + Take precautions to avoid exposure to lead dust
                when remodeling or renovating (call 1-800-424-                             '.
                LEAD for guidelines).
              +Don't use a belt-sander, propane torch, high
                temperature heat gun, scraper, or sandpaper on
                painted surfaces that may contain lead.
              + Don't try to remove lead-based paint yourself.




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The St Regis, New York

INTERIOR FURNISHINGS - Fractional Units
8th and 9th Floors                                                                                   02/1!5/06 Changed 911 to 912
                                                                                                     8/24/2005
                                                                               QUANTITIES




                                                       bJ
                                                                                    Two Bedroom Lock Off
                                                                      One            Deluxe
                                                                  Bedroom           (Lockout)        Premium
ROOM              DESCRIPTION
Pantry            Under counter Refrigerator/Minibar     1                 1            1               1
                  Cooktop                                0                 0            0               0
                  Microwave/Convection (built-in)        0                 1            0                  1
[Living Area      Dining Table                           0                 1            0                  1

I                 Dining Chairs                          0                 2            0               2
!                 Sleeper Sofa w/ pillows                0                 1            0                  1
                  Lounge Chair                           0                 2            0                  2
                  Ottoman                                0                 1            0                  1
                  Cocktail Table                         0                 1            0                  1
                  Side table                             0                 2            0                  2                        ~
                  Table Lamp                             0                 2            0                  2
                   TV armoire/chest                      0                 1            0                  1
                   Accent Table                          0                 1            0                  1
                   Drapes                                0                 1            0                  1
                   Television                            0                 1            0                  1
                   AM/FM Stereo/DVD                       1                1             1                 1
    Master Bedroom Bed Base                            1 (King)       1 (King)       1 (King)         1 (King)
                   Mattress & Box spring               1 (King)       1 (King)       1 (King)         1 (King)
                   Bedspread                           1 (King)       1 (King)       1 (King)         1 (King)
                   Headboard                           1 (King)       1 (King)        1 (King)        1 (King}
                   Television                             1                 1            1                 1
                   Armoire/Chest                          1                 1            1                 1
                   Floor Lamp                             1                 1            1                 1
                   Table Lamps                            2                 2            2                 2
                   Night Stands                           2                 2            2                 2
                   Chair                                  2                 2            2                 2
                   Accent Table                           1                 1            1                  1
                   Drapes                                 1                    1         1                  1
    Other          Artwork I Decorative Mirrors          TBD               TBD         TBD              TBD
                   Carpeting- Interior                     1                   1         1                  1
                   Safe                                    1                   1            1       L___
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                                               PURCHASEANDSALEAGREEMENT
                                            FIFTH AND FIFTY-FIFTH RESIDENCE CLUB

This Purchase and Sale Agreement ("Purchase Agreement") is made on the date stated below between St. Regis Residence Club,
New York Inc., ("Seller") whose address is 8801 Vistana Centre Drive, Orlando, FL 32821, and the undersigned purchaser(s)
("Purchaser"). Terms not otherwise defined in this Purchase Agreement have the meanings stated in the Declaration and Plan of Club
Ownership for the Fifth and Fifty-Fifth Residence Club (as amended and supplemented from time to time, the "Club Declaration") for
the Fifth and Fifty-Fifth Residence Club (''Club").

PURCHASER 1:                                                                PURCHASER 2:

Name in full                                                               Name in full


Street Address                                                             Street Address


City, State & Zip                                                          City, State & Zip


Business Phone                   Home Phone                                Business Phone                    Home Phone


E-Mail Address                                                             E-Mail Address


PURCHASER 3:                                                               PURCHASER 4:

Name in full                                                               Name in full


Street Address                                                             Street Address


City, State & Zip                                                          City, State & Zip


Business Phone                   Home Phone                                Business Phone                   Home Phone

E-Mail Address                                                             E-Mail Address


1.    The Offering Plan. Purchaser acknowledges having received and read a copy of the Offering Plan and all amendments thereto, if
      any, filed with the Department of Law of the State of New York by Seller as sponsor (collectively, "Offering Plan"). The Offering Plan
      is incorporated herein by reference and made a part hereof with the same force and effect as if set forth at length. In the event of any
      inconsistency between the provisions of this Purchase Agreement (including Riders to this Purchase Agreement executed by
      Purchaser and Seller whlch are not materially and adversely inconsistent with the Offering Plan) and the Offering Plan, the provisions
      of the Offering Plan will govern and be binding.

2.    Definitions. Terms used herein which are also used in the Offering Plan shall have the same meanings herein as therein unless the
      context otherwise requires.

3.    Primary Owner: Purchasers appoint Purchaser Number 1 to be the Primary Owner. Each Purchaser agrees that the Primary
      Owner will receive all official notices and mailings regarding the Club lnterest(s) that are the subject of this Purchase Agreement
      and only the Primary Owner will receive notices required under this Purchase Agreement, under the Club Declaration, and under
      the Fifth and Fifty-Fifth Residence Club Reservation Policies and Procedures ("Reservation Procedures"). This provision will
      survive Closing.
4.   Agreement to Sell and Purchase. In consideration of the terms, covenants and conditions set forth in this Purchase Agreement,
     Purchaser agrees to purchase, and Seller agrees to sell, the following real property ("Club Interest") as described in the attached
     Exhibit "A".




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 5.   Purchase Price and Title.
      (a)     The totai"Purchase Price," as adjusted by prorations and closing costs, will be paid in immediately available U.S. funds by
              Purchaser as follows:

                          Purchase Price:                                          $
                          Deposit (Due at signing):                                $
                          Additional Deposit {Due                                  $
                          Additional Deposit {Due                                  $
                          Purchase Price Balance Due:                              $

      (b)    All checks and credit card transactions shall represent United States currency. The Deposit, Additional Deposit(s) and the
             balance of the Purchase Price shall be made payable to the direct order of Escrow Agent. If any check is returned for insufficient
             funds or any credit card transaction is not credited to the Master Escrow Account or any other reason, such return shall be
             deemed to be a default by Purchaser under this Purchase Agreement and shall entitle Seller to exercise any of the remedies set
             forth in this Purchase Agreement.

      (c)    Purchaser shall pay the balance of the Purchase Price as adjusted by prorations and closing costs, at or before closing.
             EXCEPT AS OTHERWISE AGREED IN WRITING, THIS PURCHASE AGREEMENT IS NOT CONTINGENT ON
             PURCHASER OBTAINING FINANCING.
                                                                                                                                                      •
      (d)    Purchaser shall pay all closing costs which are Purchaser's responsibility as more particularly set forth in the Section of the
             Offering Plan entitled "Closing Costs."

      (e)    If Purchaser consists of more than one person or entity, Purchaser shall take title as (check one):
               1 Joint Tenants
             [ 1 Tenants in Common
             [ 1 Other: (specify)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _.
             Title shall be conveyed to all Purchasers as joint tenants with rights of survivorship unless specifically otherwise noted
             above.
6.    Deposits To Be Held In Trust. All Deposits received from Purchaser will be held in accordance with the provisions of the Section of
      the Offering Plan entitled "Escrow and Trust Fund Requirements". By signing this Purchase Agreement, Purchaser will not object and
      will be deemed to have agreed, without the need for a further written agreement, to the release of the Deposits to the parties entitled to
      them in the event the Closing of Title is consummated between Seller and Purchaser. If Purchaser shall default on Purchaser's
      obligations under this Purchase Agreement, then the Deposit not exceeding the sum of ten percent (10%) of the Purchase Price shall
      be released to Seller as liquidated damages, and the balance, if any, and the Closing Documents returned to Purchaser within thirty
      (30) days of such release, and thereafter, neither party shall have any further rights or obligations against or to each other. In the event
      Seller cannot convey title to the Club Interest to Purchaser by reason other than Purchaser's default, the Deposits and the Closing
      Documents shall be returned to Purchaser, within thirty (30) business days of Seller's notification to Purchaser that it cannot convey
      title.

7.    Closing Of Title.
      7.1    The Club Unit is Substantially Complete. However, interior design changes to the furniture and interior fabrics ("Interior
             Changes") will be made to the Club Units prior to Purchaser's occupancy. Therefore, Seller intends to close this transaction
             within ninety (90) days of completion of the Interior Changes or within ninety (90) days from the date all Closing Documents
             are properly executed and all outstanding payments are received, whichever event occurs last. The Interior Changes are
             expected to be completed no later than April of 2006. However, the last date on which Closing may occur is the date which
             is two (2) years from the date hereof, unless extended (the "Outside Date"). Seller's obligation shall be to hold the Closing
             on or before the Outside Date, unless extended by conditions or events legally recognized in the State of New York as
             frustrating or rendering impossible the performance of contracts. The date, time and place of Closing shall be determined
             by Seller and Seller shall give notice of the date of Closing to Purchaser at least fifteen (15) days in advance of the
             scheduled Closing Date. Closing will be effected by mail and Purchaser need not be present. On or before Closing,
             Purchaser and Seller shall execute, obtain acknowledgements and deliver such documents, affidavits and instruments and
             take such action as may be necessary to carry out their respective obligations under this Purchase Agreement. Seller shall
             provide, or cause the Club Association to provide, to Purchaser at Closing a written statement of Club Charges. Purchaser
             will be mailed a bill for current Club Charges within ninety (90) days of the date of Closing. This Purchase Agreement and
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             any Closing Document may be executed in two or more counterparts, all of which taken together shall constitute one and                  ·.··..
             the same document.


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       7.2   On the date of this Purchase Agreement, Purchaser shall execute and acknowledge all Closing Documents (including Loan
             Documents, if applicable) requested by Seller to consummate the transaction contemplated in this Purchase Agreement, as
             more fully set forth in the Offering Plan.

      7.3    The Closing of Title shall occur only after or concurrently with the compliance with the Closing Conditions set forth in the Section
             of the Offering Plan entitled "Closing of Title".

      7.4    The term "Closing Date" or "Closing of Title" or words of similar import, whenever used herein, shall mean the date on which the
             deed to the Club Interest is released for recording to Purchaser or Purchaser's mle company.

      7.5    Purchaser authorizes Seller, Selling Agent, the Title Company and Escrow Agent to complete all blank information and/or
             substitute pages containing completed information in all Closing Documents including, but not limited to, the Closing Date,
             recording data and other required information and to change the Closing Documents as a result of amendments to the Offering
             Plan and as needed in order to consummate the closing of the Club Units and/or to recopy some of the Closing Documents. No
             change in the Closing Documents will be made which would materially and adversely affect a Purchaser unless the change is
             first disclosed in an amendment to the Offering Plan. Purchaser also authorizes the release of the Closing Documents and the
             Deposits to the parties entitled to them upon the Closing of Title to the Ownership Interest or a default hereunder.

      7.6    All Deposits will be held in escrow by Escrow Agent and released in accordance with the terms of the Offering Plan. All Closing
             Documents will be held as more fully set forth in the Section of the Offering Plan entitled "Procedure to Purchase" and released
             in accordance with the terms of the Offering Plan.

8.    Delivery Of The Closing Documents.

      8.1    On the Closing Date, all Closing Documents which require recording will be delivered to the representative of the title company
             insuring Purchaser's title (or, if no such representative is present, then to a title company designated by Escrow Agent) for
             recording in the Register's Office.

      8.2    On the Closing Date, those remaining Closing Documents which do not require recording shall be delivered to the parties entitled
             to them.

9.    Status Of Title. At the Closing of Title, Seller shall convey to Purchaser good and insurable title in fee simple to the Club Interest, free
      and dear of all encumbrances other than those expressly agreed to by Purchaser or set forth in Schedule "A" annexed hereto and
      made a part hereof. Any encumbrance to which title is not to be subject shall not be an objection to title if (a) the instrument required to
      remove it of record is delivered at or prior to the Closing of Title to the proper party or to Purchasers title insurance company, together
      with the attendant recording or filing fee, if any, or (b) Purchaser's title company, is or would be willing, in a fee policy issued by it to the
      Purchaser, to insure Purchaser that it will not be collected out of the Ownership Interest if is a lien, or will not be enforced against the
      Club Interest if it is not a lien.

10.   Sett.l ement Statement: Purchaser has the right to inspect the completed HUD-1 Settlement Statement or equivalent settlement
      statement ("Settlement Statement") prior to Closing. The completed Settlement Statement will be provided by Title Company or
      other Closing agent to Purchaser for Purchaser's inspection prior to Closing.
11.   Occupancy. Assuming Closing has occurred, Purchaser's first occupancy will begin no sooner than Use Year 2007.
12.   Purchaser's Acknowledgment. Purchaser's signature on this Purchase Agreement constitutes Purchaser's acknowledgment
      that Purchaser has received, has read and understands, and, where applicable, has signed the documents listed below. Further,
      Purchaser understands and agrees that Seller may provide copies of this Purchase Agreement or certain information contained in
      this Purchase Agreement, as well as other documents executed by Purchaser at the time of purchase, to the Club Association,
      Management Company or Starwood Vacation Ownership Portfolio Services, Inc. (if sale is financed) for the purpose of enabling
      each of those entities to perform their job functions as stated in the Club Documents or the Offering Plan.
      {a)    The Club Declaration, the Club Articles, Club Bylaws, the Club Reservation Procedures and the Club Rules and Regulations
             ("Club Documents");
      (b)    The Schedule B- Club Budget;
      (c)    Use Notification;
      (d)    Buyer's Certification;
      (e)    A copy ofthis Purchase Agreement.; and
      (f)    The Condominium Declaration and Condominium Bylaws for the Condominium ("Condominium Documents").
      (g)    Purchaser hereby accepts and approves the Offering Plan (including the Condominium Documents and Club Documents con-
             tained or referred to therein) and agrees to abide and be bound by the terms and conditions thereof. The sale of the Club
             Interest is subject and subordinate to the provisions of the Condominium Documents and the Club Documents.


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 13.    Furnishings. Each Club Unit will be fully furnished with furniture, appliances, equipment and accent materials ("Furnishings")
        substantially similar in quality to those shown in the models, renderings and advertising materials; provided that Seller at all times
        retains the right to make changes and substitutions with respect to the Furnishings and construction of the Club Unit so long as
        the changes or substitutions do not materially impair the quality of the Furnishings or the Club Unit and are of equal or better
        quality. Purchaser may not rely on any specific representation made In any model, renderings or advertising materials.
        Purchaser acknowledges that square footage calculations may be made in a variety of manners and so long as the Club Unit is
        demised substantially in accordance with the models, renderings or materials reviewed by Purchaser, Purchaser shall neither
        have any right to rescind this Purchase Agreement nor to claim any breach hereof on account of alleged discrepancies in square
        footage calculations. Replacement and repair of the Furnishings are the responsibility of the Club Association. Purchaser
        understands and acknowledges that. upon occupancy: the Furnishings may not be modified in anyway or removed from the Club
        Unit by Club Members or Club Unit Occupants.

14.    Agreement Subject To Mortgage. No encumbrance shall arise against the Club Unit as a result of this Purchase Agreement or any
       monies deposited hereunder. In furtherance and not in limitation of the provisions of the preceding sentence, Purchaser agrees that
       the provisions of this Purchase Agreement are and shall be subject and subordinate to the lien of any mortgage, including, but not
       limited to, any construction or building loan mortgage, heretofore or hereafter made any advances heretofore or hereafter made
       thereon and any payments or expenses made or incurred or which hereafter may be made or incurred, pursuant to the terms thereof,
       or incidental thereto. or to protect the security thereof, to the full extent thereof, without the execution of any further legal documents by
       Purchaser. This subordination shall apply in all cases. regardless of the timing of, or cause for, the making of advances of money or
       the incurring of expenses. Seller shall, at its option, either satisfy such mortgages or obtain a release of each Ownership Interest from
       the lien of such mortgages on or prior to the Closing Date, unless Purchaser voluntarily assumes such mortgage or consents to the
       continuation of the lien thereof. The existence of any mortgage or mortgages encumbering the Club Unit, or portions thereof, other
       than the Club Interest shall not constitute an objection to title or excuse Purchaser from completing payment of the Purchase Price or
       performing all of its other obligations hereunder or be the basis of any claim against, or liability of, Seller, provided that any such
       mortgage(s) is subordinated to the Condominium Declaration and the Club Declaration.

15.    Representations, Acknowledgments, Warranties and Covenants. Purchaser makes the following representations, warranties
       and covenants to Seller:
       (a)     Purchaser is purchasing the Club Interest and the rights and privileges associated with it for Purchaser's own                               ·.
               personal use and account and not for any other purpose and Purchaser does not anticipate or expect to make a
               profit from the ownership or rental of the Club Interest. Purchaser understands that the purchase of a Club Interest
               should be based solely upon its value as a vacation experience or for spending leisure time and not for its potential
               liquidity or as an appreciating investment, including potential for rental income or for resale at a profit. Purchaser
               acknowledges that Seller and its representatives have made no representations to Purchaser regarding the Club
               Interest's potential for future profit, rental potential, tax advantages, depreciation, or investment potential.
       (b)     Purchaser shall be required to pay the Assessments set forth in the Club Declaration whether or not the Club Interest is
               used, and shall be responsible for the other fees and charges associated with the Club Interest or the use thereof, all as
               more fully set forth in the Club Documents. Purchaser's first payment of Assessments will be due after the Closing Date as
               set forth in the Use Notification. Purchaser acknowledges that unpaid Assessments, fees and charges shall become a lien
               on Purchaser's Club Interest. As of the Closing Date there will be no unpaid Assessments, including real property taxes,
               outstanding against the Club Interest.
       (c)     Purchaser understands and acknowledges that no salesperson, broker or other person has any authority whatsoever to
               make any representation. agreement or warranty, express or implied, for Seller, except those expressly set forth in writing in
               this Purchase Agreement and the Club Documents.
       (d)     Purchaser acknowledges that all of the information called for in the blank spaces of this Purchase Agreement was filled in
               and read and understood by Purchaser prior to the time of execution of this Purchase Agreement.
       (e)     Purchaser acknowledges that errors or omissions sometimes occur in Closing documents and that Purchaser intends for all
               documentation for this transaction to be accurate. Accordingly, Purchaser agrees to cooperate in initialing, re-executing and
               redelivering any Closing documents where such corrective action is deemed necessary or desirable in Seller's reasonable
               discretion in this transaction.

       (f)    Purchaser acknowledges that Purchaser has not relied upon any architect's plans, sales plans, selling brochures,
              advertisements, representations, warranties, statements or estimates of any nature whatsoever, whether written or oral, made by
              Seller, or otherwise, including, but not limited to, any relating to the description or physical condition of the Property, the Building,
              the Common Elements, the Common Areas or the size or the dimensions of the Club Units or any other physical characteristics
              thereof, the services to be provided to Club Members, the estimated Club Charges allocable to Club Members, the estimated
              Real Estate Taxes, the right to any income tax deductions or any other data, except as herein or in the Offering Plan spedfically                   ·-
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              represented. No Person has been authorized to make any representations on behalf of Seller except as herein or in the Offering
              Plan specifically set forth. No oral representations or statements shall be considered a part of this Purchase Agreement. Seller
              makes no representation or warranty as to the work, materials. appliances. equipment or fixtures in the Club Units, the Common
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              Areas or any other part of the Property other than as set forth in the Purchase Agreement or in the Offering Plan.


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       (g)   Purchaser represents to Seller that Selling Agent is the only broker or sales agent with whom Purchaser has dealt in connection
             with this transaction, and Seller agrees to pay the commission earned by Selling Agent said broker pursuant to a separate
             agreement. Purchaser agrees that should any claim be made against Seller for commissions by any broker, other than Selling
             Agent, on account of any acts of Purchaser or Purchaser's representatives, Purchaser will indemnify and hold Seller free and
             harmless from and against any and all liabilities and expenses in connection therewith, including reasonable legal fees.
      (h)    The covenants, acknowledgments, representations and warranties set forth in this Paragraph will survive the delivery and
             recordation of the deed.

16.   Binding Effect; Entire Agreement: Amendment: Recordation. This Purchase Agreement is binding on and enforceable
      against the parties and their heirs, legal representatives, successors, and permitted assigns. This Purchase Agreement is the
      only agreement between Seller and Purchaser and all prior and contemporaneous negotiations are superseded and all prior
      agreements, arrangements, representations and understandings are not legally binding on Seller or Purchaser and are replaced
      by this Purchase Agreement. The only representations, agreements and warranties made by Seller are those specified in this
      Purchase Agreement and in the Club Documents. This Purchase Agreement may only be amended in writing, signed by both
      parties. Purchaser may not record this Purchase Agreement or any memorandum of this Purchase Agreement and any such
      recording by Purchaser will constitute a breach and Seller may terminate this Purchase Agreement at Seller's option and retain
      the Deposit.
17.   Default; Tennination.
      (a)    Time is of the essence. If the date for performance of any obligation under this Purchase Agreement falls on a Saturday or
             Sunday or on any holiday recognized by the States of New York or Florida, the date of performance shall be extended to the
             next regular business week day.
      (b)    If Purchaser fails to pay all sums due under this Purchase Agreement when required as herein provided or fails to perform any of
             Purchaser's other obligations hereunder, Seller shall give notice to Purchaser of sudl default. If sudl default shall not be cured
             within seven (7) business days thereafter, Seller may, at its option, cancel this Purchase Agreement by notice of cancellation to
             Purchaser. If Seller elects to cancel this Purchase Agreement, (a) Seller may retain all sums deposited by Purchaser hereunder
             not to exceed ten percent (10%) of the Purchase Price, as liquidated damages (Seller's actual damages being difficult or
             impossible to ascertain) and, upon retaining such sum, this Purchase Agreement shall be terminated and neither party hereto
             shall have any further rights, obligations or liability to or against the other under this Purchase Agreement or the Offering Plan,
             except for Seller's obligation to return to Purchaser within thirty (30) days of such termination the unretained portion of the
             Deposits. if any, and the Closing Documents and (b) Seller may sell the Club Interest to any third party as though this Purchase
             Agreement had never been made (without any obligation to account to Purchaser for any part of the proceeds of such sale).
      (c)    If Seller breaches this Agreement, Purchaser shall give Seller written notice of such default and, if within thirty (30) days
             from receipt of such notice, Seller fails to commence action that would cure the default within a reasonable period of time, all
             monies deposited by Purchaser with Seller under this Agreement, together with interest shall, at the option of Purchaser, be
             paid by Seller to Purchaser and this Agreement shall terminate and thereafter neither party shall have any further rights or
             obligations in connection with this Agreement.
      (d)    Upon any termination of this Purchase Agreement, the parties shall be relieved of any further obligation to each other.

18.   Seller's Inability To Convey The Club Interest. If Seller is unable to deliver insurable title to the Club Interest to Purchaser in
      accordance with the provisions of the Offering Plan, Seller shall not be obligated to bring any action or proceeding or otherwise incur
      any cost or expense of any nature whatsoever in order to cure such inability, and, in such case, if Seller notifies Purchaser of its refusal
      to cure such inability, Purchaser's sole remedy shall be to either (a) cancel this Purchase Agreement or (b) take t~le to the Club Interest
      subject to such inability (without any abatement in, or credit against, the Purchase Price, or any claim or right of action against Seller for
      damages or otherwise). If Purchaser elects to terminate this Purchase Agreement, the Purchase Agreement and the other Closing
      Documents shall be null and void as of the date of Purchaser's cancellation notice and neither Seller nor Purchaser shall have any
      further rights, obligations or liabilities with respect to the other under this Purchase Agreement or the Offering Plan, except for Seller's
      obligation to return to Purchaser within thirty (30) days after receipt of Purchaser's cancellation notice, all Deposits made by Purchaser.
      The foregoing remedy must be exercised by notice of Purchaser in writing to Seller within ten (1 0) days after the Presentation Date of
      Seller's notice of refusal to cure such inability, failing which it shall be conclusively deemed that Purchaser elected the remedy
      described in clause (a) above (!&, to terminate this Purchase Agreement).

19.   Fixtures, Appliances And Personal Property. None of the fixtures, appliances and items of personal property which are described
      in the "Description of Property and Building Condition" {which is set forth in the Offering Plan, as the same may be amended from time
      to time) as being part of the Club Unit or the Club Project are included in the sale of the Club Interest pursuant to the provisions of this
      Purchase Agreement. Such fixtures, appliances and items of personal property shall belong to the Club Association for the benefit of
      all Club Members.

20.   Acceptance Of Condition Of Property. The signing of this Purchase Agreement by Purchaser signifies Purchaser's acceptance of
      the condition of the Property and the Club (as represented by Seller in the Offering Plan), as the same may be amended from time to
      time, including the Building, the Common Elements, the Club Units, the Common Areas and the Facilities in their respective existing



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        conditions, subject to ordinary wear and tear between the date Purchaser signs this Purchase Agreement and delivery of the deed to
        Purchaser. Purchaser understands that Seller has no obligation to make any repairs, improvements or decorations in or to the
        Property, the Building, Common Elements, the Club Units, the Common Areas. or the Facilities, except as may otherwise be set forth
        in the Offering Plan.

21.     Risk of Loss. The risk of loss to the Club Unit shall be on Seller until the Club Declaration is recorded and then the risk of loss shall
        be on the Club Association.

22.     lead·Based Paint And/Or Lead-Based Paint Hazards. The Environmental Protection Agency and the Department of Housing
        and Urban Development promulgated Federal regulations under 24CFR Part 35 and 40 CFR Part 745 ("Regulations") regarding
        the disclosure of lead-based paint and/or lead-based paint hazards to prospective purchaser's of Ownership Interests. In
        accordance with the provisions of the Regulations, annexed to this Purchase Agreement as Schedule "B" is a "Lead Warning
        Statement" and "Disclosure of lnfonnation on Lead-Based Paint and/or Lead-Based Paint Hazards" to be signed by Seller and
        Purchaser. In the event Purchaser exercises Purchasers' right to conduct a risk assessment or inspection ("Inspection~) for the
        presence of lead-based paint and/or lead-based paint hazards, such inspection shall be performed within ten (10} calendar days
        following the date of this Purchase Agreement on the following terms and conditions:

             (a} Purchaser and Purchaser's consultant ("Consultant") will be given reasonable access to the Club Units and the public
                 areas of the Property.
             (b) The Inspection shall be held at a mutually convenient time and date on a business day between 9 a.m. and 5 p.m. ·
             (c) The Inspection shall be performed in a reasonable manner so as not to disturb or interfere with the use. operation,
                 security or occupancy of the Club Units or the Building.
             (d) Purchaser shall be liable for any damages to the Club Units or the Building, injuries, and all claims and lawsuits caused by
                 Purchaser or the Consultant during the Inspection.
             (e) Purchaser or the Consultant will not probe, penetrate or disturb any painted or covered surface during the Inspection
                 without Seller's prior approval.

23.    Notice. All notices required to be sent under this Purchase Agreement must be in writing and either delivered personally or
       deposited in the U.S. Mail, first class postage prepaid, or via overnight courier, addressed to Purchaser and Seller at the
       addresses listed on the first page of this Purchase Agreement. Notice will be deemed given when delivered personally. on the
       third business day after deposit in the U.S. Mail in the fonn stated above, or on the next business day when deposited with a
       reputable overnight courier for next-day delivery. The addressees and addresses for purposes of this Purchase Agreement may
       be changed by giving written notice of such change as provided in this paragraph. Unless written notice is provided to the
       contrary. the last addressee and address provided under this Purchase Agreement will continue to be in effect.

24.     Perfonnance Bv And Liability Of Seller. Purchaser's acceptance of the deed for the Club Interest shall be deemed to be a full
        perfonnance and discharge of each and every agreement and obligation on the part of Seller to be performed pursuant to the
        provisions of this Purchase Agreement, the Offering Plan. 13 NYCRR, Part 24 (the regulations of the Attorney General of the State of
        New York governing the acceptance for filing of the Offering Plan) and General Business law, Section 352-e, except those (if any)
      · herein or therein expressly stated to survive delivery of such deed.

25.    Further Assurances. Either party shall execute, acknowledge and deliver to the other party such instruments, and take such other
       actions, in addition to the instruments and actions specifically provided for herein, as such other party may reasonably request in order
       to effectuate the provisions of this Purchase Agreement or of any transaction contemplated herein or to confinn or perfect any right to
       be created or transferred hereunder or pursuant to any such transaction.

26.    Entire Agreement. This Purchase Agreement supersedes any and all understandings and agreements between the parties with
       respect to the subject matter hereof.

27.    Limited Warranty/Disclaimer.
       (a)    Restrictions on Warranties. Seller did not construct the building containing the Club Units ("Building"}. Rather, it was
              constructed in 1904 by an unrelated party. Seller therefore cannot and does not warrant the Building and disclaims any
              warranty except for the limited Warranty (defined below). The statute of limitations for bringing claims against the party that
              constructed the Building have expired, however, Purchaser makes no representations regarding same. EXCEPT AS
              STATED IN THIS PARAGRAPH BELOW, PURCHASER IS ACCEPTING THE CLUB UNIT IN ITS "AS IS" CONDITION,                                                     ..<'
              AND SELLER MAKES NO WARRANTY OR REPRESENTATION OF ANY NATURE, EXPRESS OR IMPLIED,
              INCLUDING, BUT NOT LIMITED TO, THOSE OF WORKMANLIKE CONSTRUCTION. HABITABILITY, DESIGN,
              CONDITION, OR QUALITY AS TO THE PROPERTY UNDEHLYING THE CONDOMINIUM, THE CLUB UNIT, OR, THE
              OTHER IMPROVEMENTS CONSTITUTING THE CONDOMINIUM, AND SELLER HEREBY EXPRESSLY DISCLAIMS ANY
              SUCH REPRESENTATIONS OR WARRANTIES.                       SELLER SPECIFICALLY DISCLAIMS, AND PURCHASER
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